                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR09-4060-MWB
 vs.                                 ORDER CONCERNING
                                 MAGISTRATE’S REPORT AND
 HANK EDWARD HARRINGTON,       RECOMMENDATION REGARDING
                                   DEFENDANT’S MOTION TO
         Defendant.                      SUPPRESS
                    ____________________

                      I. INTRODUCTION AND BACKGROUND
        On December 16, 2009, a Superseding Indictment was returned against defendant
Hank Edward Harrington charging him with conspiracy to manufacture and distribute 50
grams or more of pure methamphetamine within 1000 feet of a public playground,
distribute pseudoephedrine knowing and having reasonable cause to believe that the
pseudoephedrine     would   be   used    to   manufacture    methamphetamine,      possess
pseudoephedrine with intent to manufacture methamphetamine, and manufacturing or
distributing methamphetamine on premises in which a minor is present or resides, in
violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), 841(c)(1), 841(c)(2), 846,
860(a), and 860a, manufacturing and attempted manufacture of 50 grams or more of
methamphetamine and 5 grams or more of pure methamphetamine, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846, manufacturing or distributing
methamphetamine on premises in which a minor is present or resides, in violation of 21
U.S.C. § 860a, and possession of firearms by an unlawful user of a controlled substance,
in violation of 18 U.S.C. §§ 922(g)(3) and 924(a)(2). On January 19, 2010, defendant
Harrington filed a Motion to Suppress in which he seeks to suppress evidence seized


       Case 5:09-cr-04060-LTS-KEM       Document 89     Filed 03/15/10    Page 1 of 4
during the search of his vehicle on the grounds that law enforcement officers lacked
probable cause to stop his vehicle. The prosecution filed a timely resistance to defendant
Harrington’s motion.
      Defendant Harrington’s Motion to Suppress was referred to Chief United States
Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). Judge Zoss conducted
an evidentiary hearing on February 4, 2010, and then filed a Report and Recommendation
on February 17, 2010, in which he recommends that defendant Harrington’s Motion to
Suppress be denied. Judge Zoss concluded that law enforcement officers did not stop
defendant Harrington’s vehicle and that Harrington was not detained by any action of law
enforcement officers. Rather, the encounter between defendant Harrington and the law
enforcement officers was voluntary and noncustodial.        Neither the prosecution nor
defendant Harrington have filed objections to Judge Zoss’s Report and Recommendation.


                                II. LEGAL ANALYSIS
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1); see Fed. R. Civ. P. 72(b) (stating identical requirements); N.D.
IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but not
articulating any standards to review the magistrate judge’s report and recommendation).
While examining these statutory standards, the United States Supreme Court explained:

                                            2


    Case 5:09-cr-04060-LTS-KEM        Document 89      Filed 03/15/10    Page 2 of 4
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed
Judge Zoss’s Report and Recommendation under a clearly erroneous standard of review.
See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no objections are
filed and the time for filing objections has expired, “[the district court judge] would only
have to review the findings of the magistrate judge for clear error”); Taylor v. Farrier, 910
F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to Fed. R. Civ. P.
72(b) indicates “when no timely objection is filed the court need only satisfy itself that
there is no clear error on the face of the record”). After conducting its review, the court
is not “‘left with [a] definite and firm conviction that a mistake has been committed,’” and
finds no reason to reject or modify the magistrate judge’s recommendation. Anderson v.
City of Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S.
Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the court accepts Judge Zoss’s


                                             3


    Case 5:09-cr-04060-LTS-KEM          Document 89      Filed 03/15/10     Page 3 of 4
Report and Recommendation and orders that defendant Harrington’s Motion to Suppress
is denied.
      IT IS SO ORDERED.
      DATED this 15th day of March, 2010.


                                            __________________________________
                                            MARK W. BENNETT
                                            U. S. DISTRICT COURT JUDGE
                                            NORTHERN DISTRICT OF IOWA




                                        4


    Case 5:09-cr-04060-LTS-KEM     Document 89     Filed 03/15/10   Page 4 of 4
